AO 91 (Rev. L1/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Idaho
United States of America )
) :
‘ ) Case No. 1:21-mj-00566-REP
CHAD JOSEPH LONGLEY )
)
) :
) |
Defendant(s) :
CRIMINAL COMPLAINT :
I, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of June 14, 2021 in the county of Ada in the
District of Idaho , the defendant(s) violated: ,
Code Section Offense Description
18 U.S.C. 2252A(a)(5)(B) Possession of Child Pornography

This criminal complaint is based on these facts:

See attached affidavit of Detective Dustin Robinson.

% Continued on the attached sheet. L
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Complainant’s signature
Dustin Robinson, Detective Boise Police Dept./Special
Deputy U.S. Marshal
Printed name and title

 

Sworn to before me telephonically and signed electronically via teleconference with the identity of the Complainant vouched
for by Assistant United States Attorney David G. Robins in accordance with the requirements of Fed. R.

Crim. P. 4.1.

Date: June 16, 2021 ZC

City and state: Boise, ID Hon. Raymond E. Patricco, U.S. Magistrate Judge

Printed name and title

 

   
   

Loa ff -O
CG Judge's signature

 
AFFIDAVIT IN SUPPORT OF AN
APPLICATION FOR A CRIMINAL COMPLAINT

I, Dustin Robinson, a Detective with the Boise City Police Department/Special Deputy U.S.
Marshal being first duly sworn, hereby depose and state as follows:
AGENT BACKGROUND

1. Your affiant is a duly sworn police officer with the Boise Police Department. Your
affiant has been employed by the Boise Police Department since June 2006 and has been
a sworn law enforcement officer in Idaho since January 2004. Your affiant has
successfully completed the Idaho Peace Officer Standards and Training in Meridian,
Idaho, and holds a State of Idaho Advanced Law Enforcement Certificate. Your affiant is
currently assigned to the Boise City Police Department's Special Victims Unit.

2. Your affiant is currently a full-time member of the Idaho Attorney General’s Internet
Crimes Against Children (CAC) Unit. The Idaho ICAC Unit is the lead agency for the
Idaho Crimes Against Children Task Force, which is a collaboration of federal, state, and
local law enforcement agencies working to counter the threat of offenders using the
Internet or other technology to sexually exploit children, As a member of the ICAC Unit,
your affiant works with other agencies that may lack sufficiently trained investigators or
may have manpower issues with investigations concerning the on-line sexual exploitation
of minor children.

3. Your affiant has conducted, or participated in, numerous investigations relating to the
possession, transportation, distribution, sad trading of child pornography files and
obscenity directed at minors. Your affiant has employed a variety of investigative
techniques including physical surveillance, undercover operations, the execution of

search warrants, and interviews of defendants, victims and witnesses.

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4. Your affiant has attended a 40-hour Internet Crimes Against Children Investigation
Techniques class taught by Fox Valley Technical College. Your affiant attended a 40-
hour training by Fox Valley Technical College on Undercover Chat Concepts and
Techniques. Fox Valley Technical College partners with the National Criminal Justice
Training Center as part of the ICAC Task Force National Training Program. Your affiant
also attended further training at the 2019 National Internet Crimes Against Children
Conference. Your affiant has spoken with federal agents and state and local investigators
who are knowledgeable regarding the methods and means used by individuals who buy,
sell, trade, send and/or receive child pornography via the Internet, and these agents and
investigators have related their personal knowledge to me and provided me with insight
as to the manner in which evidence of these crimes is kept. In addition, your affiant has
been personally involved in interviews of persons found in possession of child
pornography. The majority of those offenders interviewed discussed or confessed to their
sexual interest in children and the manner in which they seek out and locate child
pornographic images and videos. During the course of my duties, your affiant has
personally viewed sexually explicit pictures of minor children, depicting them in the
nude, in sexually provocative poses, in lewd poses, and in poses depicting various sexual
acts. Your affiant has also seen photographs, digital photographs, and videos of minor
children being raped by adults orally, anally, and vaginally. Your affiant has over 1,900
hours of law enforcement training.

5. The facts in this affidavit come from your affiant’s personal observations, training and
experience, information that your affiant has obtained from other investigators, and

information that your affiant has obtained from the National Center for Missing and

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Exploited Children (NCMEC). This affidavit is intended to show merely that there is
sufficient probable cause for the requested warrant and does not set forth all of my
-knowledge about this matter.
APPLICABLE STATUTES
6. Possession of Child Pornography - 18 U.S.C. § 2252A(a)(5)(B)
SUMMARY OF PROBABLE CAUSE

7. Your affiant secured a search warrant for Chad Longley’s residence based on a Cybertip.
Upon serving the search warrant, your affiant found digital devices belonging to Chad
Longley that contained child pornography. Moreover, after providing Miranda warnings,
Mr. Longley made confessions to possessing child pornography.

PROBABLE CAUSE
Your affiant received a Cybertip from Google, Inc. and began to investigate Chad Longley

8. On 11-24-2020 I was assigned to investigate CyberTip 81661684. I saw that there were
39 files attached to this tip. I also saw that the electronic service provider, Google LLC,
did not view all the files attached. I only viewed the files that were viewed by the
electronic service provider, Google LLC, at the time they completed the CyberTip. I saw
that the CyberTip listed the suspect as:

Name: Chad Longley
Mobile Phone: +12088501789 (Verified 07-10-2020 17:27:33 UTC)
Email Address: chadisanomad@gmail.com (Verified)
Email Address: longlec@hotmail.com

I researched, using the Idaho Department of Motor Vehicles (Idaho DMV) data, and

found that on 12-10-2020 Chad Joseph Longley (born on 4-5-1979) has a current and

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT RE: CHAD LONGLEY 3

 
valid Idaho driver’s license with a listed address of 3790 W. Parkcenter Blvd. Boise,
Idaho. I am familiar with information from the Idaho DMV and know that is it
commonly used by law enforcement and that it provides reliable, accurate and concise
information.

9, I viewed the associated files provided by Google to The National Center for Missing and
Exploited Children, attached to the Cybertip, that Google indicated were viewed by the
electronic service provider. The following is my description of two (2) of the files.

10. Filename: Google-CT-RPT-a4d3baa8 1427b04858f73de0e0cc7ac9-aaaa boylovegay pedo
preteen boy sex child porn 146(1).jpg
MDS: 40c36a4e47af54926a33fd6 1 el 1d3666
Original Filename Associated with File: aaaa boylove gay pedo preteen boy sex child
porn 146(1).jpg
SHA1: 7C3C384FBB689624D8039D75CDE33C9B7E1DC8B1
This image is digital color image. The image shows two male subjects, I estimate them
both to be about 8-10 years of age, due to their physical size, lack of pubic hair and the
size of their genitalia and that the child does not have any visible chest hair. The males
are photographed from the chest down. The subjects are seated, facing each other with
their legs spread apart as they are close to each other. One male has no visible clothing
and you can see the base of his erect penis as he engages in genital to anal penetration of
the second male. As the children face each other, one has his legs under the other legs, so
they can engage in the sex act. The other male's genitals are clearly visible. The sex act
and male genitalia are the focus of the images. The second male, I estimate to be about

8-10 years of age. The child does not have any visible pubic hair, has a small penis and

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scrotum and no visible hair on the stomach or lower.chest area that is visible. The male
child, being anally penetrated, is contracting his stomach muscles.
IP Address 75.174.38.196 Upload 09-01-2020 14:03:09 UTC

11. Filename: Google-CT-RPT-5fd08d408420626220d3 1c3ea32ffl 25-7975717Tiy jpg
MDS: 3e8e8bc42cf70422047f67 | Odbdce84b8
Original Filename Associated with File: 7975717Tiy.jpg
SHA1: 50F27950FBE38FEA35A4147B5CDD313A1D10F967
This image is a digital color image. It depicts two male juveniles laying on a bed with
their backs against a headboard facing the camera. One child is naked the other child has
a blue tank top on. The naked child, I estimate to be about 11 years old, due to the
physical size, lack of facial hair, chest hair and pubic hair, and that the child does not
have any visible acne. The child with the tank top, I estimate to be about 8 years of age,
due to the child’s physical size, lack of pubic hair and facial hair and chest hair and does
not have any visible acne. The naked child has his left arm around the younger child and
his right arm is reach and grabbing, covering the genitalia of the younger child. The
young child, with the tank top is reaching his right hand and grabbing, covering the
genitalia of the older child. Each child is providing manual to genital contact to the other
child.
IP Address 75.174.38.196 Upload 09-01-2020 14:02:43 UTC

Your affiant received a search warrant for Chad Longley’s Google account and found child
pornography within.
12. I was granted a search warrant on December 12'*, 2020, by the Hon. Ronald E. Bush,

Chief U.S. Magistrate Judge for the District of Idaho, for the Google account

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chadisanomad@gmail.com. I served the search warrant on the same day. Within the
return of data from Google LLC., the subscriber information from the account listed the
following Google subscriber information:

Google Account ID: 103696508297

Name: Chad Longley

e-Mail: chadisanomad@gmail.com

Alternate e-Mails: longlec@hotmail.com

Created on: 2011-05-20 18:30:37 UTC

Terms of Service IP: 24.117.242.128

Terms of Service Language:

Birthday (Month Day, Year): April 5, 1979

Services: YouTube, iGoogle, Android, Google Calendar, Google Hangouts, Google
Chrome Sync, Google Docs, Google Drive, Google Play, Google Photos, Google
Payments, Location History, Google Buzz, Google Sites, Google Developers Console,
Has Google One Membership Information, Google My Maps, Project Fi, Gmail, Chrome
Web Store, Has Madison Account, Google Voice, Google Keep, Pikeplace User
Deletion Date:

Deletion IP:

Status: Disabled

Last Logins: 2020-10-18 14:17:54 UTC, 2020-10-14 15:13:02 UTC, 2020-10-13
01:54:56 UTC

ACCOUNT RECOVERY

Contact e-Mail: chadisanomad@gmail.com

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Recovery e-Mail: longlec@hotmail.com

Recovery SMS: +12088501789 [US]

PHONE NUMBERS

Signin Phone Numbers: +12088501789 [US]

User Phone Numbers: +12088501789 [US]

Reachable Phone Numbers: +12088501789 [US]

2-Step Verification Phone Numbers:" ©

The subscriber information lists that the user accessed the account with an android device
with an ID number of 34ff38969e15f723. It should also be noted that this account has
“Google Photos” listed as one of the services. You affiant knows that this form of online
or cloud storage is a common location to store digital photographs or digital .PNG or
JPG files.

13. Within the responsive data from the search warrant provided by Google was a file titled,
CyberTip81661684.chadisanomad@gmail.com that contained all the file names listed in
the original CyberTip. Within the Google account was a file path 5189038-20210115-
1\CyberTip81661684.chadisanomad@gmail.com. Within this file was a combination of
39 JPG and PNG Files. The same number of images provided in the CyberTip.

14. Within the account was a file titled, Google-CT-RPT-
la6dced284f22ed6dfc4263ca3f6fce53-8753658x WJ.

The file has a MD5 of 3449877B2267F443B31DDE9DODF0017D and a SHA! of
44CC355FE4EA654317C49874C1B9202EDCB829FE
This image is a color image, it shows a nude juvenile boy laying on his back. I estimate

the child to be about 9 years old. The boy is reaching his right hand, in between his

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separated legs, clearing showing his non erect penis, there is no pubic hair, chest hair or

. facial hair visible on the child. The child does not have any acne and has small leg, chest
and arm muscles. The child is inserting his finger into his anus, thus providing manual to
anal stimulation. The child has a scowl on his face.

15. Also within the account was a file titled, Google-CT-RPT-
8b0c9f20079233a71967204decb92267-24480693GFj. This image has a MD5 of
E1C17C83E399D205D7900184C5D511DC and a SHA] of
483 A3ECDD9ABAFFB38AFF983C2127B33CD5821A3.

The file is a color image that shows two male juvenile's. One male child is nude from the
stomach to his upper thighs, as that is all that is visible, as the boy lays on his back. The
second boy is nude from his head to his chest, what is visible. That boy is leaning over
providing oral to genital stimulation to the first described boy, laying on his back. The
boy does not have any visible pubic hair. I estimate both children to be between the ages
of 6-10. The boy laying on his back does not have any visible chest or pubic hair and has
a small penis and stature, with small let, or thigh, muscles. The child providing the Oral
contact does not have any visible chest or facial hair and does not have any visible acne
with little chest and arm muscles.

16. Also within the account was a file titled, Google-CT-RPT-
80c6cd | fa7d8839 1 a6b1708a6e54fd06-goodboysl. The file has an MDS of
17639F4ADED273CA83ED91153D4CEC7B and a SHAI of
6B2BAE7A545B881AA573FB2B2494F66B9817FDB5
This file is a color image that shows two male juveniles. Both of the boys are nude, One

child is laying on his back with his legs raised and separated. The second nude male boy

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is on his knees, with his pelvis in between the separated legs of the boy laying on his
back. The child on his knees is providing genital to anal stimulation to the other boy. I
estimate both children to be about 9 years of age as neither have visible chest hair, facial
hair or pubic hair. Both children have small genitalia and little muscle development to
their bodies.

17. You affiant submitted an administrative subpoena that he obtained from Deputy
Prosecuting Attorney, Katelyn M. Farley, Ada County Prosecuting Attorney’s Office.
The administrative subpoena was submitted to Century Link/Lumen for identifying
information for the following I.P., Internet Protocol Address, at the listed date and time of
75.174.38.196 On 09-01-2020 at 14:03:09 UTC.

18. The return shows that I.P. Address 75.174.38.196 from 8-16-2020 until 9-4-2020 has a
user of “longleygrant”. The return shows that the I.P. address is related to Grant
Longley, 3790 E PARKCENTER BLVD, BOISE ID 83716. The date and time
associated with the subpoena were from the upload time for the following file.

Original Filename Associated with File: aaaa boylove gay pedo preteen boy sex child
porn 146(1).jpg
SHA1: 7C3C384FBB689624D8039D75CDE33C9B7E1DC8B1
MDS: 40c36a4e47af54926a33fd6 lel 1d3666
Physical surveillance of Chad Longley’s residence

19. On 1-19-2021 I drove by the residence of 3790 E. Parkcenter Blvd to look for a vehicle
belonging to Chad Longley or to see if anyone was home. | drove by at about 3:45 PM
and did not find any vehicle registered to Chad Longley. On 1-20-2021 at about 1:45

PM, I drove past his residence of 3790 E. Parkcenter Blvd. Boise, Idaho and saw a white

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Acura 3.2 CL bearing license plate 1A035BC was parked on the side street next to the
residence, as the residence is on a corner lot. The Idaho License Plate registration return

‘to Chad Longley. The registration was determined by referencing the Idaho DMV
database.

20. Nearly two months later, your affiant attempted to confirm Chad Longley’s presence at
the 3790 E. Parkcenter Blvd house. As an investigatory technique your affiant contacted
Boise Police Officer E. Moreno on 3-17-2021, and requested that he use a ruse to locate
and contact Chad Longley in a way that would not alert Chad Longley to the ongoing
investigation in an effort to prevent the destruction of evidence or flight of the Defendant.
At my request Officer E. Moreno knocked on the door of 3790 E. Parkcenter Blvd. Boise,
Idaho to locate Chad J. Longley. Officer Moreno told me that he spoke to a female,
named Dawna Longley. Officer Moreno said that was Chad Longley’s mother. Officer
E. Moreno said that Dawna told him that Grant was Chad Longley's father. Officer
Moreno said that Dawna told him that Chad Longley lives at the address, but that he
comes and goes. She said at the time he was on a bicycle ride but would be back soon.
Officer Moreno left his business card. A short time later (approximately 15 minutes)
Chad Longley called and requested a call back. I was with Officer Moreno and called
Chad Longley at 208-850-1789. This is also the same telephone number associated with
the Google account chadisanomad@gmail.com from the Cybertip. I called Chad Longley.
Chad Longley answered the telephone call. The telephone number Chad Longley
answered was the same one give to Officer Moreno by Dawna Longley. During my
phone call with Chad Longley, he said that he has recently lived in Mexico, Utah, and

Portland and planned to live in California soon. During my conversation with Chad

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Longley, he stated that he purchased his vehicle, referring to his White Acura 3.2 CL
bearing Idaho plate 1A035BC, in November of last year (2020). By referencing the
Idaho DMV was able to locate a current and valid Idaho DMV License Plate registration
for 1AO35BC the 2001 White Acura with V.LN. |OUYA42641A019348. I saw that the
vehicle was registered on 11-20-2020 and valid until 10-31-2021. I researched and found
a public Facebook account for Chad Longley that has a photograph of Chad J. Longley
on the cover and states that the user traveled to Utah and Mexico with a female, possibly
his sirlfriend, Other photographs of Chad Longley were located on the Facebook account
that showed him in a variety of locations. I am familiar with Chad Longley facial
characteristics as I have viewed his photograph associated with his Idaho Driver’s
License, via the Idaho DMV. The Facebook profile subject photograph that your affiant
viewed physically depicted the same subject in the photograph found on Chad Longley’s
Idaho Driver’s License. At the same time Officer E. Moreno knocked on the door of
3790 E. Parkcenter Blvd., I saw that the 2001 White Acura 1A035BC V.LN.
19UYA42641A019348 was parked next to the residence.

21. On 5-24-2021 at about 3:19 PM I saw Chad Longley exit the garage of 3790 Parkcenter
Blvd. Boise, Idaho. Longley walked over to the white 2001 Acura 3.2CL with Idaho
License Place 1A035BC. Longley went to the passenger side and may have opened the
door, but my vision was blocked by a non-related vehicle. Longley then went to the front
of the vehicle and examined the bumper and hood. I saw Longley then walk into the
garage attached to the residence. I drove by and saw Longley standing by the door
leading into the residence. In sum, given that Chad Longley’s address is listed at 3790 E.

Parkcenter Blvd. according to the Idaho DMV, that his vehicle was observed there on

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three occasions, that your affiant observed Chad Longley at the residence on May 24,
2021, and that there is evidence that Chad Longley’s Gmail was accessed at an IP
registering back to this address.

Your affiant received a search warrant for Chad Longley’s residence

22. Your affiant received a search warrant from the Honorable Judge Ronald Bush. Your

affiant served this warrant on 6-14-2021.

Interview of Chad Longley

23. On 6-14-2021 I, Detective D. Robinson, saw Chad Longley’s vehicle parked next to the

residence at about 7:00 AM. A short time later members of the Idaho ICAC Task Force,
Boise Police Department and I served the search warrant previously signed by the
Honorable Judge. R. Bush to search the address of 3790 E. ParkCenter Blvd. Boise,
Idaho, a 2001 White Acura 3.23 CL with Idaho License plate of 1A035BC and the person
of Chad J. Longley. Longley was seen, by Detective B. Joseph (Boise Police Dept.)
leaving the residence, driving away in the previously described vehicle. He was stopped,
by Officer C. Turner and Office Price. I arrived on scene and introduced myself to Chad |
Longley. Longley was transported back to the mobile interview room. I read Longley
his Miranda rights and he said he understood them. I confirmed that Longley was not on
medication and had no medical conditions other than a sore back. Longley was alert and
responsive. Longley also said that he had a Master’s Degree in Education. Longley
verbally identified himself. I knew it was Longley as he matched the photograph on his
Idaho Driver’s License. The following paragraphs captures a summation of a portion of

my interview/interrogation with Chad J. Longley.

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24. After advising Chad J. Longley of his Miranda rights and advising Longley he was not
under arrest but was detained, Longley stated that he had viewed images of children
under the age of 18, primarily boys, between the age of 11 and above, in sexual positions.
He stated that he was not proud of this and that he tries to suppress that part of him,
instead trying to focus on 18-25 year old men. Longley said that he began having
thoughts about young boys as early as his teenage years but did not start to view images
of boys/Child Pornography until he was in college. He said he has recently stopped
viewing those images. Longley said he created the account chadisanomad@gmail.com,
but that it was shut down. He said he did not know why. Longley said his telephone
number is 208-850-1789, the same associated with the Google Account of
chadisanomad@gmail.com. Longley said that he has not talked about viewing child
pornography with anyone as because of the social stigma. Longley said he knows that
viewing child pornography is illegal. Longley said he had an HP laptop that was kept in
his room, on the shelf, and that he uploaded some of the content of that machine to his
Google account, chadisanomad@gmail.com. Longley told me that he viewed images of
children under the age of 18 engaged in sexual acts while using that HP Laptop. He said
he did not know that he uploaded any of those types of images onto the Google Account.
Longley said he masturbated to images of boys under the age of 18 in a sexual position or
sexual acts, but could not describe how often, other than advising that it was not every
time he looked at the material, and that he looked at the images a few times per month.
Longley stated that the tablet (digital device) located in his bedroom was his. He said he
did not recall looking at contraband images on that device, but that it was possible he did.

He said that no one else would have looked at those type of images on the device.

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Review of evidence from Longley’s residence

25.

26.

Investigator T. Pittz, Idaho Attorney General’s Criminal Division/ICAC Task Force
located a silver colored (exterior) HP Laptop, Model 17-E146US and a brown colored
(exterior) Asus Envy tablet and an Attaché thumb-drive that contained contraband
images. Based on my training and experience, these digital devices travelled in affected
interstate commerce. Investigator G. Lockwood viewed the data from a collected thumb-
drive listed as Item #5. On the thumb-drive listed as “Attaché” were several files. Below
are descriptions of three of the files.

File Name: 3£6b6364adf0cdd458ba8al 9ff6c69623

File Size: 43.3 KB

File Type: .JPG

MDS: 329C6C9C6512C7A7D6EC4C9CE3 1 BC4C8

SHAI: 28DDA637 1 3E4ED89FC269985CCC6046F67D0627E

Detective K. Ferguson, Ada County Sheriff’s Office, described the file as, “The digital
file is a still color image showing two young male children completely nude. I estimate
the age of both boys to be 9-12 years of age, both Caucasian with brown hair. Both boys
are lying down on their backs. Each boy has a hand extended to the other child’s
genitals, grasping the other child’s penis in a manner that indicates each boy is
masturbating the other boy. More specifically, the child at the bottom of the image is
using his right hand to grasp the penis of the male child at the top of the image, or on the
child’s right side. The child at the top of the image is reaching over himself to grasp the

penis of the male child on his left side. Both children appear to have their focus in the

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same direction. Both children are prepubescent, with no physical signs of body hair.” I
too viewed the file and agree with her description.

27. File Name: 47fe9ef9 | dab2c6a9d80d6ad3009425d
File Size: 129 KB
File Type: .JPG
MDS: B25D409099E88495 1 BECOTEOOD8AA LAC
SHAIL: 9AF6E1 1FABF49123DC492E4065525B9EEB9E4C96
Det. Ferguson viewed the file and described it as, “File Description: The digital file is a
still color image that appears to depict the cover of a magazine. The top of the image
says “BOY FUCK” in black and white bold font. The top left corner says, “ISSUE #8 —
August 2005,” and the top right corner reads, “FOR MEN WHO ENJOY SEX WITH
KIDS.” There is a large color image of a Caucasian male child approximately 10-12
years of age. The child is completely nude and is resting on his back with his right leg
pulled behind his head, completely exposing his bare genitals and anus to the camera.
The child has brown hair and hazel eyes. The text on the image reads, “Meet twelve-year
old Danny, a paperboy who will do anything for a tip...we gave him a ten bucks and a
gallon of cum!” The child is staring at the camera. There is a gold colored star graphic
on the image that reads, “MAN-BOY CHILD PORN SPECTACULAR!” I too viewed
this file and agree with her description, as well as also seeing a smaller images in the
lower left had side of a small penis, set on a length measurement device. The penis and
scrotum does not have any pubic hair and appears small in size, slightly over and inch
according to the measurement device. The caption around the penis reads, “How long is

the average second-grader’s penis? We went inside the pants of 16 neighborhood boys to

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find out! (And yes, we sucked every one of their delicious, hairless little cocks ... one of
the fringe benefits of working in the child porn industry!)”. |

28. File Name: ffdabe7a289c748d9d7abal 782ab7c62
File Size: 712 KB
File Type: MPEG Video File
MD5: 31A963B9D0D7347FB85408A7BB336D7A
SHA1: 2F902FB24D711FA1C3224D0F6415B43941F239EE
Det. Ferguson viewed and described the file as, “The digital file is a short video segment
that depicts a male child approximately 9-12 years of age. The male child is completely
nude and is positioned on his hands and knees, possibly on a bed. The male child is
Caucasian and has dark brown hair. A white male adult is positioned behind the child
inserting his penis into the child’s anus. The adult male has his hand wrapped around the
child’s hips and his thrusting in a back and forth motion.” I too viewed the file and agree
with her description.

29. The following image description comes from the Asus tablet examined by Investigator G.
Lockwood, listed as Item #3.
Image Name: 67d8d92de6.360 ©
Type of File: MP4
File Size: 68.8 MB
MD5: A211EA29952B6A211FD964834F474F3 1
SHA1: 067EBAD6F632D3EC1CC4A2DDDADC518E5253FE94
Det. Ferguson viewed the file and described it a, “The digital file is a video file that is

approximately 38 minutes and 21 seconds in length. The initial screen in the video is a

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black screen with white letters that read, “BOYWANKERS.COM.” The color video
depicts a young male boy approximately 12-15 years of age. The child has sandy hair
and is wearing a grey t-shirt. The boy pulls the t-shirt up and places is around his neck,
leaving his nude body and genitals exposed to the camera. The boy appears to be
manipulating the camera as though he is filming himself. The child immediately starts
manually masturbating his penis with his hand. The child has no visible body hair. Later
in the video, the boy positions his anus in front on the camera and ribs his anus with his
fingers. A headboard and pillows can be seen in the background. Throughout the video,
“BOYWANKERS.COM,” occasionally flashes across the screen.” I too viewed the file
and agree with her description. Investigator C. Hardin, Idaho Attorney General’s ICAC
Task Force, viewed digital data from the HP Laptop, listed as Item #2 and found the
following file.

File Name: 8ab41e400661 ea8aacbc3a6790a69fb7

File Size: 65.6 MB

File Type: WMV Video File (VLC) (WMV)

MD5: 34B95D915038DD6182ED0F30F08DA8C6

SHAI: 13006FO9F9CBEA17B5AA2ABC1ACO0F8D2B47D0E3

I viewed this file and described it as, a color digital video that plays for 6 minutes 55
seconds in time. The video does not have sound associated with it. The video shows a
male boy that I estimate to be about 14 years old wearing a blue shirt. A second boy that
I estimate to be about 16 wearing a grey shirt also appears in the frame. The first child,
in a blue shirt, then repositions the camera as he pulls down his black workout pants, to

expose he erect penis, at about the 03:10 mark. The boy has a small amount of pubic

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hair. The boy covers his penis at about the 03:45 mark and then takes the device he is

using to capture the recording and walks upstairs to a bedroom with what appears to be

trophy’s possibly sports trophies, on a dresser. The child then lays down on the bottom

bed or a bunk bed set-up. At the 05:12 mark the boy pulls down his pants, focuses the

camera on his penis, chest and face and begins to provide manual to genital stimulation

until ejaculation. The recording then ends. The video appears to be recorded from the

subject viewing the boy’s activities from the Omegle platform as the work, “Omegle” is

seen on the lower left hand side of the frame along with a recording program, ezvid

recorder, interface besides the word, “Omegle”.

 

Dustin Robinson

Detective

Boise City Police Department
Special Deputy U.S. Marshal

Subscribed to electronically and sworn to telephonically to before me this 16th day of June, 2021.

      
 

HONORABLE RAYMOND E. PATRICCO |
UNITED STATES MAGISTRATE JUDGE

 

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